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 6                                 UNITED STATES DISTRICT COURT

 7                                        DISTRICT OF NEVADA

 8 UNITED STATES OF AMERICA,                          )
                                                      )
 9                         Plaintiff,                 )
                                                      )
10          v.                                        ) 2:12-CR-383-JCM-(CWH)
                                                      )
11 PORFIRIO INFANTE-CERVANTES,                        )
                                                      )
12                         Defendant.                 )
13                      AMENDED PRELIMINARY ORDER OF FORFEITURE

14           This Court finds that on June 23, 2014, defendant PORFIRIO INFANTE-CERVANTES pled

15 guilty to Count Four of a Nine-Count Criminal Superseding Indictment charging him in Count Four

16 with Maintaining a Drug-Involved Premises in violation of Title 21, United States Code, Section

17 856(a)(1). Criminal Superseding Indictment, ECF No. 11; Change of Plea, ECF No. 109; Plea

18 Agreement, ECF No. 110, Preliminary Order of Forfeiture, ECF No. 111.

19           This Court finds defendant PORFIRIO INFANTE-CERVANTES agreed to the forfeiture of

20 the property set forth in the Plea Agreement and the Forfeiture Allegation of the Criminal Superseding

21 Indictment. Criminal Superseding Indictment, ECF No. 11; Change of Plea, ECF No. 109; Plea

22 Agreement, ECF No. 110, Preliminary Order of Forfeiture, ECF No. 111.

23           This Court finds, pursuant to Fed. R. Crim. P. 32.2(b)(1) and (2), the United States of America

24 has shown the requisite nexus between property set forth in the Plea Agreement and the Forfeiture

25 Allegation of the Criminal Superseding Indictment and the offense to which defendant PORFIRIO

26 INFANTE-CERVANTES pled guilty.
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 1           The following assets are subject to forfeiture pursuant to Title 21, United States Code, Section

 2 853(a)(1) and (a)(2):

 3                  1. $3,877.95 in United States Currency seized from JP Morgan-Chase Bank account

 4                      #xxxxx7631 in the name of Chief Smokes, LLC;

 5                  2. $63,157.21 in United States Currency seized from JP Morgan-Chase Bank account

 6                      #xxxxxx2176 in the name of Hosam Al-Baderi;

 7                  3. $940.06 in United States Currency seized from Mountain America Federal Credit

 8                      Union account #xxx4339 in the name of Hosam Al-Baderi;

 9                  4. $743.35 in United States Currency seized from Mountain America Federal Credit

10                      Union account #xxx1021 in the name of Coast 2 Coast Enterprises NV, LLC;

11                  5. $18,173.00 in cash seized from Al-Baderi in Salt Lake City, UT during his arrest on

12                      October 23, 2013; and

13                  6. 2008 Mercedes-Benz, Model CI63, bearing Utah license number 9745006, with

14                      vehicle identification number WDDEJ77X28A015593, seized at the time of Mr. Al-

15                      Baderi’s arrest in Utah on October 23, 2012

16 (all of which constitutes “property”).

17           This Court finds the United States of America is now entitled to, and should, reduce the

18 aforementioned property to the possession of the United States of America.

19           NOW THEREFORE, IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that the

20 United States of America should seize the aforementioned property.

21           IT IS FURTHER ORDERED, ADJUDGED, AND DECREED all right, title, and interest of

22 PORFIRIO INFANTE-CERVANTES in the aforementioned property is forfeited and is vested in the

23 United States of America and shall be safely held by the United States of America until further order

24 of the Court.

25          IT IS FURTHER ORDERED, ADJUDGED, AND DECREED the United States of America

26 shall publish for at least thirty (30) consecutive days on the official internet government forfeiture

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 1 website, www.forfeiture.gov, notice of this Order, which shall describe the forfeited property, state the

 2 time under the applicable statute when a petition contesting the forfeiture must be filed, and state the

 3 name and contact information for the government attorney to be served with the petition, pursuant to

 4 Fed. R. Crim. P. 32.2(b)(6) and Title 21, United States Code, Section 853(n)(2).

 5           IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that any individual or entity

 6 who claims an interest in the aforementioned property must file a petition for a hearing to adjudicate

 7 the validity of the petitioner’s alleged interest in the property, which petition shall be signed by the

 8 petitioner under penalty of perjury pursuant to Title 21, United States Code, Section 853(n)(3) and

 9 Title 28, United States Code, Section 1746, and shall set forth the nature and extent of the petitioner’s

10 right, title, or interest in the forfeited property and any additional facts supporting the petitioner’s

11 petition and the relief sought.

12           IT IS FURTHER ORDERED, ADJUDGED, AND DECREED a petition, if any, must be filed

13 with the Clerk of the Court, 333 Las Vegas Boulevard South, Las Vegas, Nevada 89101, no later than

14 thirty (30) days after the notice is sent or, if direct notice was not sent, no later than sixty (60) days

15 after the first day of the publication on the official internet government forfeiture site,

16 www.forfeiture.gov.

17           IT IS FURTHER ORDERED, ADJUDGED, AND DECREED a copy of the petition, if any,

18 shall be served upon the Asset Forfeiture Attorney of the United States Attorney’s Office at the

19 following address at the time of filing:

20                  Michael A. Humphreys
                    Assistant United States Attorney
21                  Daniel D. Hollingsworth
                    Assistant United States Attorney
22                  Lloyd D. George United States Courthouse
                    333 Las Vegas Boulevard South, Suite 5000
23                  Las Vegas, Nevada 89101.
24           IT IS FURTHER ORDERED, ADJUDGED, AND DECREED the notice described herein

25 need not be published in the event a Declaration of Forfeiture is issued by the appropriate agency

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 1 following publication of notice of seizure and intent to administratively forfeit the above-described

 2 property.

 3                 July___
            DATED this  3, 2014
                           day of July, 2014.

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 6
                                                 UNITED STATES DISTRICT JUDGE
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